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UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF VIRGINIA

 

Elizabeth Sines, et al.

Plaintiff
vs. Case No: 3:17CV60072

Jason Kessler, et al.

Defendant

AFFIDAVIT OF SERVICE

1, Ricardo Delpratt, a Private Process Server, being duly sworn, depose and say:

That I have been duly authorized to make service of the Summons, Civil Cover Sheet with Addendum, Complaint, and Plaintiffs’
Jury Demand in the above entitled case.

That | am over the age of eighteen years and not a party to or otherwise interested in this matter.

That on 10/31/2017 at 9:04 AM, I served Michael Peinovich a/k/a Michael "Enoch" Peinovich with the Summons, Civil Cover
Sheet with Addendum, Complaint, and Plaintiffs’ Jury Demand at 519 East 82nd Street, Apartment 2C, New York, New York
10028, by serving Michael Peinovich a/k/a Michael "Enoch" Peinovich, personally.

Michael Peinovich a/k/a Michael “Enoch” Peinovich is described herein as:

Gender: Male Race/Skim: White Age: 38 Weight: 220 Height: 60" Hair: Black Glasses: No

{do solemnly declare and affirm under penalty of perjury that | have read the foregoing information set forth herein is correct to
the best of my knowledge, information, and belief.

lil [2017 Rb fe rado—

Executed On ! Ricardo Delpratt j

 

 

Client Ref Number:N/A
Job #: 1534574

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